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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION



  RO-MA HOLDINGS #2, LLC.,

                   Plaintiff,
                                                              Case No. 1:20cv20252
  vs.

  SCOTTSDALE INSURANCE COMPANY,

                   Defendant

                                                       /

                                AMENDED NOTICE OF REMOVAL

         The Defendant, Scottsdale Insurance Company (“SIC”), pursuant to 28 U.S.C. § 1446

  and 28 U.S.C. § 1332, and in response to this Court’s Order Requiring Amended Notice of

  Removal [DE 20], Removes the above-captioned action from the Circuit Court of the Eleventh

  Judicial Circuit in and for Miami-Dade County, Florida, to this Court, and as grounds states:

              I.       THE STATE COURT ACTION

         1.        On or about November 26, 2019, the Plaintiffs, RO-MA HOLDINGS #2, LLC.

  (“Plaintiffs”) filed this insurance coverage case against SIC in circuit court in the Eleventh

  Judicial Circuit in Miami-Dade County, Florida, Case No. 2019-034767-CA-01 (the “State Court

  Action”). In accordance with 28 U.S.C. § 1446(a), copies of all process, pleadings and orders

  filed in the State Court Action are attached hereto as Composite Exhibit “A”.

         2.        At all material times, including at the time the case was filed and at the time of

  removal, Plaintiffs have been organized under the laws of Florida, their principal places of

  business have been located in Miami, Florida. Plaintiffs are therefore citizens of Florida.




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         3.      At all material times, including at the time the case was filed and at the time of

  removal, SIC has been an Ohio corporation with its principal place of business is located in

  Scottsdale, Arizona. SIC is therefore a citizen of Ohio and Arizona. SIC is a surplus lines insurer

  which issues policies in Florida under Florida’s Surplus Lines Law, Fla. Stat. §§ 626.913-

  626.937.

         4.      Margarita Rodriguez is the only member of Ro-Ma Holdings #2, LLC listed on

  the 2019 Florida Limited Liability Company Annual Report filed April 24, 2019 and the only

  member listed on the annual report, filed April 20, 2018. Margarita Rodriguez’s address is listed

  as 2482 SW 137th Avenue, Miami, FL 33175. Margarita Rodriguez is a citizen of Florida and

  the only member of Ro-Ma Holdings #2, LLC. Copies of the Annual Reports are attached hereto

  as Exhibit “B”.

         5.      Therefore, because SIC is a citizen of Ohio and Arizona, and the only member of

  Ro-Ma Holdings #2, LLC is a citizen of Florida, complete diversity has been established, and

  this case remains within this Court’s jurisdiction

         6.      On January 6, 2020, SIC was served with Plaintiffs’ Complaint in the State Court

  Action. SIC first received the Complaint when it was served with it.

         7.      The Complaint filed in the State Court Action seeks monetary damages in excess

  of $15,000. See A.

         8.      The Plaintiff’s suit claims a damage estimate amount in controversy well in

  excess of $75,000. A copy of Plaintiffs’ estimate is attached hereto as Exhibit “C”.




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               II.       STANDARD OF REVIEW

         9.           Removal is appropriate upon a showing that there is complete diversity of

  citizenship and the amount in controversy exceeds $75,000.00, exclusive of interest, costs, and

  attorney’s fees. 28 U.S.C. § 1332.

         10.          Where removal is sought on the basis of jurisdiction conferred by 28 U.S.C.

  §1332, the amount in controversy is the sum demanded in the initial pleading, except where the

  state practice permits recovery of damages in excess of the amount demanded. 28 U.S.C. § 1446

  (c)(2)(A).

         11.          Where the state practice either does not permit or demand for a specific sum or

  permits recovery of damages in excess of the amount demanded in the initial pleading, removal

  is proper where the Court finds, by a preponderance of the evidence, that the amount in

  controversy exceeds $75,000.000, exclusive of interest and costs. 28 U.S.C. § 1446 (c)(2)(B).

  That is the case here based upon Plaintiffs’ estimate.

         12.          The notice of removal shall be filed within 30 days after the defendant receives an

  initial pleading. 28 U.S.C. § 1446 (b).

               III.      THIS NOTICE OF REMOVAL IS TIMELY AND PROPER

         13.          SIC is a citizen of Ohio and Arizona. Plaintiffs are citizens of Florida. There is

  complete diversity of citizenship, and has been at all times from the date the Complaint was filed

  through the present date. By filing this Notice of Removal, SIC consents to the removal of this

  case from state to federal court.

         14.          Where a complaint alleges that damages exceed a Florida circuit court’s

  jurisdictional minimum of $15,000, removal is appropriate upon a showing by a preponderance

  of the evidence that the amount in controversy exceeds $75,000, exclusive of interest and costs.




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  See generally Village Square Condominim of Orlando, Inc. v. Nationwide Mut. Fire Ins. Co.

  2009 U.S. Dist. LEXIS 115564 (M.D. Fla. Dec. 10, 2009).

         15.     Plaintiffs served an estimate of property damage in the sum of $98,835.87.

  Therefore, the damages exceed $75,000 exclusive of interest and costs.

         16.     This Notice of Removal is filed within 30 days of January 6, 2020, and is

  therefore timely. 28 U.S.C. §1446(c).

         17.     As the Notice of Removal was filed within thirty days and involves a controversy

  in excess of $75,000 between citizens of different states, removal is proper.

         18.     Pursuant to 28 U.S.C. § 1446(d), written notice of the removal of this action will

  be promptly served on Plaintiffs’ counsel, and a Notice of Removal is simultaneously being filed

  with the Clerk of the Circuit Court in and for Dade County, Florida

         Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

         I hereby certify that on September 16, 2020, I electronically filed the foregoing with the

  Clerk of the Court by using the CM/ECF system.

                                                   s/ Sean W. Rolland
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